23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 1 of
                                        24



                      IN THE UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

  IN RE:                                §
                                        §    BANKRUPTCY NO. 21-30107-CGB
  PDG PRESTIGE, INC.,                   §
                                        §              CHAPTER 7
        Debtor.                         §
  _____________________________________ § _____________________________________
                                        §
  LEGALIST DIP GP, LLC and              §
  PDG PRESTIGE, INC. (by and through    §
  Ronald Ingalls, Chapter 7 Trustee),   §     ADVERSARY NO. 23-03004-CGB
                                        §
        Plaintiffs,                     §
                                        §
  v.                                    §
                                        §
  MICHAEL DIXSON, individually;         §
  MESILLA VALLEY VENTURES, LLC;         §
  MICHAEL DIXSON TRUST THROUGH §
  ITS TRUSTEE MICHAEL J. DIXSON;        §
  CHRISTINA DIXSON; SOUTHWESTERN §
  ABSTRACT & TITLE COMPANY, INC.; §
  WEYCER, KAPLAN, PULASKI &             §
  ZUBER P.C.; ENTRADA                   §
  DEVELOPMENT, LLC; THE GATEWAY §
  VENTURES, LLC; LPC RETAIL, LLC,       §
  and FSLRO 510 SOUTH TELSHOR LAS §
  CRUCES, LLC,                          §
                                        §
        Defendants.                     §

                       WEYCER, KAPLAN, PULASKI & ZUBER P.C.’s
                         MOTION FOR SUMMARY JUDGMENT

          Defendant Weycer, Kaplan, Pulaski & Zuber P.C. (“Weycer Kaplan”) moves this Court

  pursuant to Federal Rule of Bankruptcy Procedure 7056 for summary judgment on the claims

  brought against it by Plaintiffs Legalist DIP GP, LLC (“Legalist”) and PDG Prestige, Inc. (by and

  through Ronald Ingalls, Chapter 7 Trustee) (“PDG”) (collectively, “Plaintiffs”), and for summary

  judgment on Weycer Kaplan’s affirmative defense of attorney immunity as to Legalist’s claims.

  WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
  19820545v1
  10660.217                                                                                       1
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 2 of
                                        24



                                                              I.
                               JURISDICTION, VENUE, AND STANDARD OF REVIEW

             1.       This Court has jurisdiction to consider this Motion under 28 U.S.C. § 157(a) and

  § 1334(a) as referred by Order of Reference of Bankruptcy Cases and Proceedings entered by the

  United States District Court for the Western District of Texas. This matter is a core proceeding

  pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court under 28 U.S.C. § 1408 and

  § 1409. The relief requested herein may be granted in accordance with 11 U.S.C. § 105(a).

             2.       Federal Rule of Bankruptcy Procedure 7056 applies Federal Rule of Civil

  Procedure 56 to adversary proceedings, and pursuant thereto,

                      A party may move for summary judgment, identifying each claim or defense—or
                      the part of each claim or defense—on which summary judgment is sought. The
                      court shall grant summary judgment if the movant shows that there is no genuine
                      dispute as to any material fact and the movant is entitled to judgment as a matter
                      of law.1
                                                             II.
                                           SUMMARY JUDGMENT EVIDENCE

  Exhibit 1: Email from Jeff Carruth to Michael Dixson (Feb. 15, 2021) (WKPZ 001).
  Exhibit 2: Email from Michael Dixson to Jeff Carruth (Feb. 15, 2021) (WKPZ 002).
  Exhibit 3: Voluntary Petition (Dkt. 1),
  Exhibit 4: Schedules (Dkt. 14).
  Exhibit 5: DIP Order (Dkt. 43).
  Exhibit 6: Order Granting Motion to Employ Weycer Kaplan (Dkt. 47).
  Exhibit 7: Order Approving First Amended Disclosure Statement (Dkt. 118).
  Exhibit 8: First Amended Disclosure Statement (Dkt. 116).
  Exhibit 9: Order Confirming Plan (Dkt. 148) (hereinafter “Plan”).
  Exhibit 10: Deposition Transcript of Brian T. Rice (Excerpt).
  Exhibit 11: Email from Jeff Carruth to Brian Rice (Mar. 30, 2022) (Rice 0012).
  Exhibit 12: Email Chain Between Jeff Carruth and Brian Rice (March 30, 2022) (Rice 0015).
  Exhibit 13: Deposition Transcript of Michael Dixson (Excerpt) (WKPZ 11).
  Exhibit 14: Email from Jeff Carruth to Brian Rice (Apr. 12, 2022) (Rice 0016).
  Exhibit 15: Email from Brian Rice to Jeff Carruth (Apr. 14, 2022) (Rice 0023).
  Exhibit 16: Special Warranty Deed, Lot 1A, PDG to Mesilla Valley (Apr. 21, 2022).
  Exhibit 17: Email from Brian Rice to Jeff Carruth (Apr. 13, 2022) (Rice 0019).
  Exhibit 18: Email from Jeff Carruth to Brian Rice (Apr. 13, 2022) (Rice 0020).
  Exhibit 19: Email from Jeff Carruth to Brian Rice (Apr. 13, 2022) (Rice 0022).
  Exhibit 20: Seller’s Statement, Lot 1A (May 26, 2022).

  1
      FED. R. CIV. P. 7056; FED. R. CIV. P. 56(a).
  WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
  19820545v1
  10660.217                                                                                                2
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 3 of
                                        24



  Exhibit 21: Chase Bank Statement for PDG Prestige Inc. (Apr. 30, 2022 – May 31, 2022).
  Exhibit 22: Order Converting Case (Dkt. 271).
  Exhibit 23: Motion to Convert (Dkt. 264).
  Exhibit 24: Motion to Withdraw (Dkt. 277).
  Exhibit 25: Order Granting Motion to Withdraw (Dkt. 283).

                                              III.
                             UNCONTROVERTED SUMMARY JUDGMENT FACTS

      A. The Hiring of Weycer Kaplan through Plan Confirmation in the PDG Bankruptcy.

          3.       On February 15, 2021, Michael Dixson2 (“Dixson”) engaged Weycer Kaplan to

  represent PDG in a Chapter 11 bankruptcy.3 PDG’s primary contact at Weycer Kaplan was Jeff

  Carruth (“Carruth”).4 That same day, Carruth filed PDG’s Voluntary Petition.5

          4.       On March 14, 2021, Carruth filed PDG’s Schedules which listed as real property,

  “510 and 550 S Telshor, Las Cruces. Referred to by parties often as Lot 1A and Lot 3A,” valued

  at $4,700,000.00.6 On April 12, 2021, this Court entered the DIP Order, which authorized use of

  proceeds from the DIP loan and gave Legalist a security interest.7 On April 16, 2021, this Court

  entered an Order Granting Motion to Employ Weycer Kaplan.8 On January 20, 2022, this Court

  approved the First Amended Disclosure Statement which stated

                   PDG[] owns and is the developer of a ±3.29 acre tract of real property in Las
                   Cruces, Dona Ana County, New Mexico and sometimes referred to as Mesilla
                   Valley Mall Subdivision, Replat No. 5 (the “Subject Property”). The Subject
                   Property is divided into two lots, Lot 3A and Lot 1A . . . .9 The Debtor believes
                   that the Subject Property as of the Petition Date possessed a stabilized value of
                   $4,700,000. . . . Legalist DIP GP, LLC . . . holds a first consensual lien against
                   the subject property in the amount of . . . $4,700,000 under the DIP Credit
                   Agreement . . . .10 To the extent necessary, this Plan also constitutes a sale motion
                   under Code §363(f) to sell Lot 1A free and clear and all liens, claims, and
                   encumbrances as described below, with the proceeds of such sale being used to

  2
    PDG’s president. See Exhibit 13: Depo. of Dixson, Pg. 14, Lines 8-11.
  3
    Ex. 1: Email from Carruth to Dixson (Feb. 2, 2021); Ex. 2: Email from Dixson to Carruth (Feb. 2, 2021).
  4
    Ex. 1: Email from Carruth to Dixson (Feb. 2, 2021).
  5
    Ex. 3: Voluntary Petition (Dkt. 1).
  6
    Ex. 4: Schedules (Dkt. 14) (Schedule A/B, pg. 3).
  7
    Ex. 5: DIP Order (Dkt. 43).
  8
    Ex. 6: Order Granting Motion to Employ (Dkt. 47).
  9
    Ex. 7: Order Approving First Amended Disclosure Statement (Dkt. 118); Ex. 8: First Amended Disclosure Statement
  (Dkt. 116) (¶ 3.1).
  10
     Ex. 8: First Amended Disclosure Statement (Dkt. 116) (¶ 3.3).
  WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
  19820545v1
  10660.217                                                                                                      3
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 4 of
                                        24


                    fund the Plan as described herein.11 . . . .Payments and distributions under the
                    Plan will be funded by the continued development, refinance, and/or sale of the
                    Subject Property.12 As discussed above, the Debtor believes that the sale of Lot
                    1A will result in cash of approximately $1,800,000 to $2,000,000 to fund the Plan,
                    almost all of which will go to reduce the claim of Legalist.13 PDG[] believes that
                    the Various Leases will be revived following the Effective Date, and upon such
                    revival will permit a sale of Lot 3A and/or refinancing of the remaining
                    indebtedness following the sale of Lot 1A.14 PDG[] is also seeking exit financing
                    from a more traditional asset-based and/or real estate lenders which financing
                    would be used to reduce the remaining balance of the Legalist debt and to pay []
                    additional costs of development. . . . 15

           5.       On March 31, 2022, this Court confirmed the Plan with an effective date of April

  1, 2022.16 Per the Plan, its purpose was “to pay creditors of PDG Prestige, Inc. . . . from cash flow

  from future operations and/or sales of property.”17 The Plan noted an estimated claim of Weycer

  Kaplan for $70,000 and a secured claim of Legalist for $5,200,000.00.18 The Plan was to be funded

  by “(1) a sale of the Subject Property, (2) lease and/or rental income of the Subject Property, and/or

  (3) existing financing and/or post-Effective Date re-financing,” and “each of Lot 1A and Lot

  3A . . . will be subject of one or more sales post-Effective Date by the Reorganized Debtor.”19

           6.       Per the Plan,

                    Any sales, transfers, and/or conveyances of some or all of the Subject Property
                    shall be made pursuant to, at minimum, constitute sales under Code §§ 363(f),
                    1122(a)(5), and/or 1125(b)(4), and each such sale, transfer, and/or conveyance
                    shall be free and clear and any lien, claims, encumbrances, and/or any other
                    interests, except as specified above with respect to particular Lots and/or
                    particular conveyances and except any intertest of Bubba’s Holdings in and to the
                    Subject Property (Lot 1A) pursuant to the Bubba’s Holdings Lease, to which any
                    sale, transfer and/or conveyance of Lot 1A will be subject. . . . .20

           And,

  11
     Ex. 8: First Amended Disclosure Statement (Dkt. 116) (¶ 6.1).
  12
     Id. at ¶ 6.2.
  13
     Id.
  14
     Id.
  15
     Id. The Disclosure Statement also noted, “On December 20, 2021 the Debtor entered into a Purchase and Sale
  Agreement with The Paul Rothbard Revocable Living Trust . . . for the sale of Lot 1A . . . $2,615,000.00. Closing is
  expected to occur before March 31, 2022,” but this sale ultimately did not go through. See id. at ¶ 3.5.2; Ex. 9: Plan
  (Dkt. 148) (Plan, ¶ 8.1).
  16
     Ex. 9: Plan (Dkt. 148) (¶ 21).
  17
     Id. at Plan, ¶ 1.1 (emphasis added).
  18
     Id. at Plan, § 2. Because its claim was unimpaired, Legalist was deemed to accept the Plan. See id. at Plan, § 5.2.
  19
     Id. at Plan, ¶ 8.1 (emphasis added).
  20
     Id. at Plan, ¶ 9.9.
  WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
  19820545v1
  10660.217                                                                                                           4
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 5 of
                                        24


                    For the avoidance of doubt, and without contradiction of any portion of the Code,
                    upon the Effective Date, all property of the estate, including but not limited to any
                    and all real property of the Debtor in Dona Ana County, New Mexico and further
                    including without limitation each of Lot 1A and Lot 3A of the Subject Property,
                    shall vest and/or return to Reorganized Debtor, and which property the
                    Reorganized Debtor shall be free to sell, lease, encumber, and otherwise transact
                    and/or use in any manner without the necessity of further notice to any creditors
                    and/or parties in interest and without the necessity of prior approval of the
                    Bankruptcy Court.21

           7.       On March 30, 2022, prior to confirmation, Carruth emailed Brian Rice (“Rice”),

  Legalist’s current Chief Operating Officer and General Counsel,22 a Notice of Plan Redline (First

  Amended vs. Second Amended) and a Second Amended Plan of Reorganization of PDG Prestige

  Inc. Dated March 29, 2022.23 In his deposition, Rice confirmed Carruth sent these documents “to

  Legalist for Legalist’s input,”24 that these documents demonstrated that PDG could “sell [Lots] 1A

  and 3A in compliance with the code,”25 and that Legalist had no objection to these documents.26

  Later that same day in a follow up, Carruth asked Rice if he could “tell the Court that Legalist

  approves of the plan,” to which Rice responded, “So long as we’re getting repaid from a post-

  confirmation refi/sale, which I think everyone is on the same page about -- and not 120 monthly

  payments over 10 yrs [sic] [emoji face with tears of joy] -- then, yes, we consent.”27

       B. Legalist’s Lien Release and the Sale of Lot 1A.

                    a. Negotiation of DIP Loan.

           8.       Dixson testified the DIP Loan from Legalist was needed to pay off a loan secured

  by both Lot 1A and Lot 3A and for operating capital, and the rest would be “put back into re-

  developing the property.”28 Per Dixson, Lot 1A would be sold, and the remaining debt to Legalist



  21
     Id. at Plan, § 10 (emphasis added).
  22
     Ex. 10: Depo. of Rice, Pg. 20, Lines 9-19.
  23
     Ex. 11: Email from Carruth to Rice (Mar. 30, 2022).
  24
     Ex. 10: Depo. of Rice, Pg. 56, Lines 11, 24; Pg. 57, Lines 4-18; Pg. 59, Lines 13-15.
  25
     Id. at Pg. 61, Lines 21-23.
  26
     Id. at Pg. 62, Lines 16-17.
  27
     Ex. 12: Email Chain Between Carruth and Rice (March 30, 2022).
  28
     Ex. 13: Depo. of Dixson, Pg. 24, Lines 3-21; Pg. 26, Lines 2-25.
  WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
  19820545v1
  10660.217                                                                                                 5
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 6 of
                                        24



  would be paid off with a refinance of Lot 3A.29 Rice testified that Legalist understood and

  agreed.30 He testified, “There was a prepetition lender to be repaid . . . [a]nd the balance was to

  be used to develop the underlying collateral . . . that secured the loan.”31 Dixson testified Legalist

  first called him to open discussions on DIP financing.32 After “hundreds of phone calls” between

  Dixson and Legalist personnel, Zach Campbell (“Campbell”) (Investment Manager),33 Eva Shang

  (CEO),34 Nate Jones (“Jones”) (Head of DIP Underwriting),35 and Rice, and after Legalist sent

  him a term sheet, Dixson testified he and Legalist came to an agreement for DIP financing.36 Rice

  confirmed he negotiated the credit agreement with Dixson based on the term sheet.37

                   b. Sale of Lot 1A.

          9.       According to Rice, around “year end of ‘21,” he, Dixson, Carruth, and Legalist’s

  investment team (composed of Jones and Remy Cipriano (“Cipriano”)) discussed an agreement by

  Legalist to release its lien on Lot 1A to allow this property to be sold, and allow PDG to use the

  proceeds from the sale of Lot 1A to develop Lot 3A.38 Following these discussions, on April 12,

  2022, Carruth emailed Rice and Campbell (Dixson was cc’d) a release of lien document and a

  FedEx label.39 Rice testified that he conferred with Jones and Cipriano, who previously spoke

  with Dixson directly about the lien release, and based on their conversations, he executed and




  29
     Id. at Pg. 55, Lines 5-25; Pg. 56, Lines 9-16.
  30
     Ex. 10: Depo. of Rice, Pg. 62, Lines 16-17.
  31
     Id. at Pg. 34, Lines 9-25; Pg. 35, Lines 1-2.
  32
     Ex. 13: Depo. of Dixson, Pg. 34, Lines 2-25.
  33
     Ex. 10: Depo. of Rice, Pg. 70, Lines 14-17.
  34
     Id. at Pg. 21, Lines 19-20.
  35
     Id. at Pg. 37, Lines 6-8.
  36
     Ex. 13: Depo. of Dixson, Pg. 34, Lines 2-25; Pg. 35, Lines 1-25; Pg. 36, Lines 1-2.
  37
     Ex. 10: Depo. of Rice, Pg. 28, Lines 22-24; Pg. 29, Lines 1-25; Pg. 30, Lines 1-22.
  38
     Id. at Pg. 46, Lines 15-25; Pg. 47, Lines 1-25; Pg. 48, Lines 1-25; Pg. 49, Lines 1-13; Pg. 54, Lines 16-19.
  39
     Ex. 14: Email from Carruth to Rice (Apr. 12, 2022); Ex. 10: Depo. of Rice, Pg. 46, Lines 22-25; Pg. 47, Lines 1-
  25; Pg. 48, Lines 1-25; Pg. 49, Lines 1-16; Pg. 50, Lines 1-25; Pg. 51, Lines 1-25; Pg. 70, Lines 1-25; Pg. 71, Lines
  1-25; Pg. 72, Lines 1-25; Pg. 73, Lines 1-13.
  WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
  19820545v1
  10660.217                                                                                                          6
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 7 of
                                        24



  submitted the release of lien document.40 In executing the release, Legalist put no stipulations on

  the use of proceeds from the sale of Lot 1A, nor did Rice request any.41

           10.      To aid the sale of Lot 1A, Dixson testified he decided to transfer it from PDG to

  Mesilla Valley Ventures, LLC (“Mesilla Valley”) (a similar, single purpose entity he and PDG

  owned that he used to attempt to purchase a property near Lot 1A), which he did “to get away from

  the liabilities that were associated with the ongoing litigation with the Cremins parties and the

  [Noorani Group] on the [Gateway Ventures] [bankruptcy and adversary]”42 He testified there was

  an agreement and consideration between PDG and Mesilla Valley for the transfer of Lot 1A, in

  which he represented both entities.43 Per a Special Warranty Deed, PDG conveyed Lot 1A to

  Mesilla Valley on April 20, 2022.44 Dixson testified he discussed selling Lot 1A to LPC Retail,

  LLC (“LPC”) prior to his transfer of Lot 1A from PDG to Mesilla Valley, and that he negotiated

  the sale of Lot 1A by Mesilla Valley to LPC.45

           11.      In an email on April 13, 2022, Rice asked Carruth for a copy of the Lot 1A Purchase

  and Sale Agreement with LPC,46 and later that day, Carruth provided Rice an executed copy.47

  The first paragraph of the Purchase and Sale Agreement notes it “is entered into . . . by and

  between MESILLA VALLEY VENTURES, LLC . . . and LPC RETAIL, LLC . . . .”48


  40
     Ex. 10: Depo. of Rice, Pg. 46, Lines 22-25; Pg. 47, Lines 1-25; Pg. 48, Lines 1-25; Pg. 49, Lines 1-16; Pg. 50, Lines
  1-25; Pg. 51, Lines 1-25; Pg. 83, Lines 13-25; Pg. 84, Lines 1-5; Ex. 15: Email from Rice to Carruth (Apr. 14, 2022).
  41
     Ex. 10: Depo. of Rice, Pg. 52, Lines 1-25 (“[T]he lien release itself did nothing except release the lien.”); Pg. 53,
  Lines 1-14.
  42
     Ex. 13: Depo. of Dixson, Pg. 36, Lines 12-24; Pg. 38, Lines 1-20; Pg. 39, Lines 8-9, 15-20; Pg. 40, Lines 1-5; Pg.
  42, Lines 23-25. He elaborated, “As far as I was concerned, the bankruptcy plan had been confirmed and we were
  moving forward with the plan. So I wasn’t too worried about the bankruptcy at that point. I was worried about
  something coming up later on, which could put their collateral in jeopardy, and put our transaction in jeopardy as
  well.” Id. at Pg. 43, Lines 15-21.
  43
     Id. at Pg. 46, Lines 20-23.
  44
     Ex. 16: Special Warranty Deed, Lot 1A, PDG to Mesilla Valley (Apr. 21, 2022).
  45
     Ex. 13: Depo. of Dixson, Pg. 44, Lines 5-18; Pg. 68, Lines 15-16.
  46
     Ex. 17: Email from Rice to Carruth (Apr. 13, 2022); Ex. 10: Depo. of Rice, Pg. 73, Lines 18-25; Pg. 74, Lines 1-
  25; Pg. 75, Line 1.
  47
     Ex. 18: Email from Carruth to Rice (Apr. 13, 2022); Ex. 10: Depo. of Rice, Pg. 75, Lines 2-10.
  48
     Ex. 18: Email from Carruth to Rice (Apr. 13, 2022) (Purchase and Sale Agreement (emphasis original)).
  WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
  19820545v1
  10660.217                                                                                                             7
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 8 of
                                        24



  Legalist raised no issue with Mesilla Valley being listed as the seller.49 Rice responded, “Cool. I

  can go to the notary tmrw [sic] AM and FedEx it then[,]”and he asked, “Can we expect the

  $2.345M paydown or is there a holdback for other claimants, etc.?”50 Carruth replied,

                    Mike and other Legalist folks have been working on use of proceeds, separately
                    from me.

                    The basic concept, though, is to use net proceeds to pay claims (including yours
                    truly) and use the remaining net (around $1.8M) to complete the development.

                    There is a take out of Legalist waiting in the wings for this to close, and Mike has
                    sent those terms.51

  Rice responded the next day, “Sent this AM,” which confirmed he sent the release of lien

  document.52 Prior to responding, though, Rice testified he conferred with Jones and Cipriano to

  confirm the accuracy of Carruth’s email, namely as to the “use of proceeds” “work[ed] on” by

  “Mike [Dixson] and other Legalist folks.”53 Rice understood this email conveyed Carruth’s

  understanding of the use of proceeds, which Carruth explained were “work[ed] on . . . separately

  from [him],” namely between Dixson, Jones, and Cipriano.54 Rice also testified he understood

  Carruth’s “(including yours truly)” to mean Weycer Kaplan would be paid from the sales

  proceeds.55 By the “take out of Legalist waiting in the wings,” Rice understood Legalist would be

  paid with funds from a refinance.56 Rice testified that he believed Carruth’s email was consistent

  with what Jones and Cipriano explained to him based on their conversations with Dixson.57

  Dixson (who was cc’d) understood this email to mean “using net proceeds [from the sale of Lot



  49
     Ex. 10: Depo. of Rice, Pg. 75, Lines 20-25; Pg. 76, Lines 1-25; Pg. 78, Lines 1-21.
  50
     Ex. 19: Email from Carruth to Rice (Apr. 13, 2022); Ex. 10: Depo. of Rice, Pg. 78, Lines 15-25; Pg. 79, Lines 1-
  17.
  51
     Ex. 19: Email from Carruth to Rice (Apr. 13, 2022).
  52
     Ex. 15: Email from Rice to Carruth (Apr. 14, 2022).
  53
     Ex. 10: Depo. of Rice, Pg. 79, Lines 18-25; Pg. 80, Lines 1-11; Ex. 19: Email from Carruth to Rice (Apr. 13, 2022).
  54
     Ex. 10: Depo. of Rice, Pg. 40, Lines 14-23; Pg. 81, Lines 6-9; Ex. 19: Email from Carruth to Rice (Apr. 13, 2022)
  (emphasis added).
  55
     Ex. 10: Depo. of Brian T. Rice, Pg. 81, Lines 10-14; Ex. 19: Email from Carruth to Rice (Apr. 13, 2022).
  56
     Ex. 10: Depo. of Rice, Pg. 81, Lines 15-25; Pg. 82, Lines 1-6; Ex. 19: Email from Carruth to Rice (Apr. 13, 2022).
  57
     Ex. 10: Depo. of Rice, Pg. 82, Lines 15-19.
  WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
  19820545v1
  10660.217                                                                                                           8
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 9 of
                                        24



  1A] to pay claims, pay all of the creditors, use remaining net [$1.8 million] to complete the

  development [Lot 3A].”58 Dixson testified, “We closed on Lot 1A. We finished the portions of

  Lot 1A. We . . . finished up a significant portion of Lot 3A, got it to a point where it was ready to

  get refinanced, and then began going in the route of refinancing the project with another company

  refinancing them.”59 Dixson stated,

                    We had to catch up with some old professional fees. PDG had some outstanding
                    bills that hadn’t been paid in several months. We had to get caught up. We had
                    to pa[y] like county fees and, you know, Secretary of State fees and that kind of
                    stuff. Then we also used a portion of this to purchase a property in Lakeway,
                    Texas.60

  Dixson identified the property in Lakeway, Texas as the “6 Candleleaf Property.”61

                    c. Use of Proceeds.

           12.      The Sellers Statement from the sale of Lot 1A dated May 26, 2022 shows that,

  following the sale, $1,916,558.82 was due to the seller, Mesilla Valley Ventures, LLC.62 The

  Seller Statement also shows a $75,000 payment to Weycer Kaplan for legal fees, among other

  similar payments to other creditors.63 A Chase bank statement for PDG’s account shows a deposit

  on May 31, 2022 of $1,916,558.82 described as “Pro[c]eeds of Sale 510 South Telshor Blv[d]. . . . ,

  and a $500,000 withdrawal described as “Online Domestic Wire Transfer . . . Doma Insurance

  Agency of Texas Inc . . . The Dixson Family Trust 6 Candleleaf[.]”64 Thus, PDG actually received

  the net proceeds, $1,916,558.82, from the sale of Lot 1A.65




  58
     Ex. 13: Depo. of Dixson, Pg. 61, Lines 5-15.
  59
     Id. at Pg. 61, Lines 18-24.
  60
     Id. at Pg. 62, Lines 7-25.
  61
     Id. at Pg. 89, Lines 23-25.
  62
     Ex. 20: Seller’s Statement, Lot 1A (May 26, 2022).
  63
     A $50,000 payment to Ferguson Braswell Fraser Kubasta PC for legal fees; a $47,572.88 payment to New Mexico
  Real Estate Advisors, Inc. to pay off a lien; a $4,825.32 payment to R2 Contractors Specialty, Inc. to pay off a lien; a
  $70,981.70 payment to Utility Block Company, Inc. to pay off a lien; and a $6,350 payment to Partner Engineering
  and Science, Inc. to pay a survey invoice. See id.
  64
     Ex. 21: Chase Bank Statement for PDG Prestige Inc. (Apr. 30, 2022 – May 31, 2022).
  65
     Id.; see also Plaintiffs’ Third Amended Complaint, Pgs. 8-9, ¶ 50 (Dkt. 97).
  WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
  19820545v1
  10660.217                                                                                                             9
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 10
                                      of 24



      C. Filing of the Adversary, Conversion to Chapter 7, and Withdrawal of Weycer Kaplan.

          13.      On June 16, 2023, a month after Dixson’s deposition by Rule 2004 exam in the

 PDG bankruptcy, Legalist filed this adversary solely against PDG and Dixson contending that it

 received no funds from the sale of Lot 1A.66 On July 13, 2023, this Court entered an Order on

 PDG’s own Motion that converted the bankruptcy to Chapter 7 and appointed Trustee Ronald E.

 Ingalls.67 Given the conversion, Weycer Kaplan and Carruth withdrew as counsel.68

                                                 IV.
                                      SUMMARY JUDGMENT ARGUMENT

          14.      By the time Legalist filed this adversary, it knew where the proceeds from the sale

 of Lot 1A went (into the PDG bank account, as Dixson previously testified, and as was shown to

 him by Legalist’s then-counsel)69 and why the proceeds went there (because Legalist voluntarily

 released its lien on Lot 1A, as Rice later testified).70 Ignoring this, on February 23, 2024, Legalist

 amended its complaint to add Weycer Kaplan as a defendant and to realign PDG as a Plaintiff.

          15.      Legalist has no injury that it can blame on anyone but itself. Rice voluntarily

 released Legalist’s lien on Lot 1A based on his communications with Legalist employees Jones

 and Cipriano, who, themselves, communicated with Dixson.71 Rice testified he made no effort to

 control PDG’s use the sale proceeds from Lot 1A.72 And, because PDG received the Lot 1A sales




 66
    See Plaintiff’s Original Complaint (Dkt. 1), this Adversary; see generally Ex. 13: Depo. of Dixson.
 67
    Ex. 22: Order Converting Case (Dkt. 271). As grounds, which Legalist opposed, PDG noted incomplete Plan
 performance and Legalist’s rejection of multiple offers to sell Lot 3A. See Ex. 23: Motion to Convert (Dkt. 264).
 68
    Ex. 24: Motion to Withdraw (Dkt. 277); Ex. 25: Order Granting Motion to Withdraw (Dkt. 283).
 69
    Ex. 13: Depo. of Dixson, Pg. 62, Lines 7-25; see also Plaintiff’s Original Complaint, Pg. 6, ¶ 40 (Dkt. 1).
 70
    Ex. 10: Depo. of Rice, Pg. 52, Lines 1-25; Pg. 53, Lines 1-14.
 71
    Id. at Pg. 46, Lines 22-25; Pg. 47, Lines 1-25; Pg. 48, Lines 1-25; Pg. 49, Lines 1-16; Pg. 50, Lines 1-25; Pg. 51,
 Lines 1-25; Pg. 83, Lines 13-25; Pg. 84, Lines 1-5.
 72
    Ex. 10: Depo. of Rice, Pg. 52, Lines 1-25; Pg. 53, Lines 1-14.
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                                          10
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 11
                                      of 24



 proceeds into its Chase Bank account,73 any injury to PDG was done by Dixson, who controlled

 the PDG bank account and who took out the funds to pay for the 6 Candleleaf Property.74

          16.      The Plaintiffs’ Third Amended Complaint, nonetheless, raises causes of action

 against Weycer Kaplan for Civil Conspiracy, Civil Contempt, and for Revocation of Weycer

 Kaplan’s Retention Order and for Fee Disgorgement.75 Weycer Kaplan moves for summary

 judgment on these claims because Dixson testified it was his decision to transfer Lot 1A from PDG

 to Mesilla Valley (after Plan confirmation),76 he negotiated the DIP Loan and the lien release with

 Legalist,77 he negotiated the sale to LPC,78 and the funds from the sale of Lot 1A went back into a

 PDG account that he controlled.79 Additionally, Weycer Kaplan moves for summary judgment on

 its affirmative defense of Attorney Immunity as to the claims brought against it by Legalist,

 because Weycer Kaplan has no liability to Legalist based on its representation of PDG. Further,

 Legalist lacks standing to seek a revocation of Weycer Kaplan’s Retention Order and, therefore,

 cannot make a claim for fee disgorgement. PDG has no damages arising from Weycer Kaplan’s

 representation of it, so a revocation of Weycer Kaplan’s Retention Order and a disgorgement of

 its fees is wholly unwarranted.




 73
    See Plaintiffs’ Third Amended Complaint (Dkt. 97), Pgs. 8-9, ¶ 50.
 74
    Ex. 21: Chase Bank Statement for PDG Prestige Inc. (Apr. 30, 2022 – May 31, 2022); Ex. 13: Depo. of Dixson, Pg.
 87, Lines 20-25; Pg. 88, Lines 1-25; Pg. 89, Lines 1-25.
 75
    See generally Plaintiffs’ Third Amended Complaint (Dkt. 97), Pgs. 32-33, Pgs. 37-38, Pgs. 38-39.
 76
    Ex. 13: Depo. of Dixson, Pg. 36, Lines 12-24; Pg. 38, Lines 1-20; Pg. 39, Lines 8-9, 15-20; Pg. 40, Lines 1-5; Pg.
 42, Lines 23-25.
 77
    Id. at Pg. 34, Lines 2-25; Pg. 35, Lines 1-25; Pg. 36, Lines 1-2; Ex. 10: Depo. of Rice, Pg. 46, Lines 22-25; Pg. 47,
 Lines 1-25; Pg. 48, Lines 1-25; Pg. 49, Lines 1-16; Pg. 50, Lines 1-25; Pg. 51, Lines 1-25; Pg. 83, Lines 13-25; Pg.
 84, Lines 1-5; Ex. 15: Email from Rice to Carruth (Apr. 14, 2022).
 78
    Ex. 13: Depo. of Dixson, Pg. 44, Lines 5-18; Pg. 68, Lines 15-16.
 79
    Ex. 21: Chase Bank Statement for PDG Prestige Inc. (Apr. 30, 2022 – May 31, 2022); Ex. 13: Depo. of Dixson, Pg.
 87, Lines 20-25; Pg. 88, Lines 1-25; Pg. 89, Lines 1-25.
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                                            11
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 12
                                      of 24



      A. Attorney Immunity as to Legalist’s Claims Against Weycer Kaplan.

          17.      Weycer Kaplan has no liability to Legalist. All Weycer Kaplan’s actions took place

 within the scope of its representation of PDG. Under Texas law, generally, “attorneys are immune

 from civil liability to non-clients for actions taken in connection with representing a client in

 litigation.”80 “Put differently, an attorney may be liable to nonclients only for conduct outside the

 scope of his representation of his client or for conduct foreign to the duties of a lawyer.”81 Attorney

 immunity applies even to wrongful conduct performed by the lawyer in representing his client, so

 long as the conduct is not entirely foreign to the duties of an attorney.82 The analysis “focuses on

 the kind of conduct at issue rather than the alleged wrongfulness of said conduct[,]” and “[A]

 lawyer is not more susceptible to liability for a given action merely because it is alleged to be

 fraudulent or otherwise wrongful.”83 Weycer Kaplan represented PDG,84 not Legalist.85 Rice

 testified it was Legalist’s responsibility to protect its security interest in Lot 1A.86 The Plaintiffs’

 other allegations in its Third Amended Complaint attempt to allege, without evidence, that Weycer

 Kaplan aided Dixson in conduct that Dixson previously testified was his own, or by conveniently

 conflating Weycer Kaplan’s conduct with Dixson’s conduct, despite Plaintiffs alleging the conduct

 elsewhere was solely Dixson’s or PDG’s.87




 80
    Cantey Hanger, LLP v. Byrd, 467 S.W.3d 477, 481 (Tex. 2015) (internal quotations omitted) (citing Alpert v. Crain,
 Caton & James, P.C., 178 S.W.3d 398, 405 (Tex. App.—Houston [1st Dist.] 2005, pet. denied); other citations
 omitted).
 81
    Youngkin v. Hines, 546 S.W.3d 675, 681 (Tex. 2018) (citing Cantey Hanger, LLP, 467 S.W.3d at 482).
 82
    Ironshore Europe DAC v. Schiff Hardin, L.L.P., 912 F.3d 759, 767 (5th Cir. 2019)
 83
    Youngkin, 546 S.W.3d at 681 (emphasis original) (citing Cantey Hanger, LLP, 467 S.W.3d at 483).
 84
    Ex. 2: Email from Dixson to Carruth (Feb. 2, 2021); Ex. 6: Order Granting Motion to Employ (Dkt. 47).
 85
    Ex. 10: Depo. of Rice, Pg. 36, Line 15.
 86
    Id. at Pg. 36, Lines 2-18 (“They were not our lawyers.”).
 87
    Compare Third Amended Complaint (Dkt. 97), Pg. 6, ¶ 35 (“Jeff Carruth[] aided the Debtor in transferring Lot 1A
 to Debtor’s insider, Mesilla Valley . . . .”), and id. at Pg. 7, ¶¶ 36 (“Mr. Carruth negotiated the sale of Lot 1A from
 Mesilla Valley to a third party.”), with id. at Pg. 18, ¶ 112 (“Dixson, individually, and as an agent of PDG and Mesilla
 Valley, or on behalf of PDG and Mesilla Valley, orchestrated the transfer of Lot 1A from PDG to Mesilla Valley and
 then from Mesilla Valley to FSLRO.”).
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                                            12
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 13
                                      of 24



         18.      In Paragraph 35 of the Third Amended Complaint, the Plaintiffs allege “Carruth[]

 aided the Debtor in transferring Lot 1A to Debtor’s insider, Mesilla Valley,”88 but Dixson

 previously testified, he decided to transfer Lot 1A to Mesilla Valley,89 he represented both PDG

 and Mesilla Valley in that transaction, and he negotiated on their behalf.90 In Paragraph 36,

 similarly, the Plaintiffs allege, “Carruth negotiated the sale of Lot 1A from Mesilla Valley to a

 third party,” and in Paragraph 39, Plaintiffs allege Weycer Kaplan represented Mesilla Valley in

 negotiation of the purchase and sale agreement for Lot 1A,91 but again, Dixson previously testified

 he negotiated the sale of Lot 1A to LPC.92 That Carruth was involved in the drafting of the

 purchase and sale agreement (of which Legalist had a copy)93 does not mean he represented

 Mesilla Valley. But, even assuming Legalist’s allegations against Weycer Kaplan are true, these

 allegations all relate to Weycer Kaplan’s conduct in representing PDG, so Weycer Kaplan is

 protected by the Attorney Immunity Doctrine from Legalist’s causes of action.

         19.      These allegations are factually similar to those addressed in the Supreme Court of

 Texas’s opinions in Cantey Hanger, LLP v. Byrd and Youngkin v. Hines, both of which applied

 the Attorney Immunity Doctrine and dismissed the non-client/plaintiffs’ claims.94 In Cantey

 Hanger, Cantey Hanger’s client received a plane in a divorce decree, and Cantey Hanger prepared

 the documents necessary for its transfer.95 In preparing these documents, Cantey Hanger used its

 client’s former last name and referred to her, allegedly wrongfully, as a “manager” of a company




 88
    Third Amended Complaint (Dkt. 97), Pg. 6, ¶ 35; see also id. at Pg. 10, ¶ 60.
 89
    Ex. 13: Depo. of Dixson, Pg. 36, Lines 12-24; Pg. 38, Lines 1-20; Pg. 39, Lines 8-9, 15-20; Pg. 40, Lines 1-5; Pg.
 42, Lines 23-25.
 90
    Id. at Pg. 46, Lines 20-23.
 91
    Third Amended Complaint (Dkt. 97), Pg. 7, ¶¶ 36, 39.
 92
    Ex. 13: Depo. of Dixson, Pg. 44, Lines 5-18; Pg. 68, Lines 15-16.
 93
    Ex. 10: Depo. of Rice, Pg. 75, Lines 20-25; Pg. 76, Lines 1-25; Pg. 78, Lines 1-21.
 94
    Cantey Hanger, LLP v. Byrd, 467 S.W.3d 477 (Tex. 2015); Youngkin v. Hines, 546 S.W.3d 675 (Tex. 2018).
 95
    Cantey Hanger, LLP, 467 S.W.3d at 479-80.
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                                         13
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 14
                                      of 24



 awarded to her ex-spouse.96 The non-client/ex-spouse and his companies sued Cantey Hanger

 alleging “fraud, aiding and abetting, and conspiracy, asserting that Cantey Hanger falsified the bill

 of sale in order to shift tax liability for the” plane to the non-client/ex-spouse in violation of the

 divorce decree.97 The Court found, “Meritorious or not, the type of conduct alleged falls squarely

 within the scope of Cantey Hanger’s representation of [its client] in the divorce proceedings[,]”98

 and that this conduct “was not foreign to the duties of an attorney,” and was “protected by attorney

 immunity.”99 Similarly in Youngkin, a non-client litigant alleged Youngkin (an adverse attorney)

 “knowingly participated in [a] fraudulent scheme to deprive [him] of his property,” by entering a

 settlement agreement on behalf of his clients, “knowing they had no intention to comply,”

 preparing a deed to transfer the property, and aiding another party to “wrongfully assert ownership

 over a portion of the property[.]”100 The Court, relying on Cantey Hanger,101 found “Youngkin’s

 conduct was directly within the scope of his representation of his clients, regardless of any

 disagreement over the substance of the settlement agreement,” that “[i]t would strain the very

 existence of settlement agreements if a party could hold an opposing attorney liable for

 subsequently taking an action or position at odds with that party’s understanding of the

 agreement[,]” and that, “[e]ven more concerning,” “such a practice could impute a guarantee of

 the client’s performance onto the attorney merely because he played a role in negotiating his

 client’s agreement.”102




 96
    Id.
 97
    Id. at 480-81 (among other causes of action not included in the opinion).
 98
    Id. at 480 (emphasis original).
 99
    Id. at 485.
 100
     Youngkin, 546 S.W.3d at 678-79.
 101
     See generally id. at 681-83.
 102
     Id. at 682.
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                          14
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 15
                                      of 24



          20.      Much like the non-client in Youngkin, Legalist is trying to pass its mistake onto

 Weycer Kaplan, though Rice testified there was no mistake,103 and the Plaintiffs’ own Complaint

 states Legalist released its lien on the basis of PDG’s and Dixson’s representations.104 Like the

 non-client/ex-spouse in Cantey Hanger, Legalist is trying to pass its resulting misfortune (that

 Dixson removed funds from the PDG account instead of reinvesting them into Lot 3A) onto

 Weycer Kaplan, even though Dixson testified those actions were his own.105 Borrowing from

 Youngkin, it was not Weycer Kaplan’s responsibility to ensure Legalist understood the risk of the

 deal it made with Dixson, nor was it Weycer Kaplan’s responsibility to ensure Dixson or PDG

 complied with the deal. Carruth even sought to ensure Rice, also an attorney,106 shared his

 understanding of the deal.107 Communicating with creditors is a fundamental part of representing

 debtors in bankruptcy. The actions of Carruth and Weycer Kaplan were all well within the scope

 of their representation of PDG, and Weycer Kaplan is entitled to summary judgment on its

 affirmative defense of Attorney Immunity against the claims brought by Legalist.

 B. Civil Conspiracy

          21.      Weycer Kaplan did not conspire with Dixson to do anything. It represented PDG

 during the pendency of its Chapter 11 bankruptcy and communicated with Dixson and Legalist in

 that capacity. “Providing legal advice to a client is not illegal,”108 nor is it fraud to explain to



 103
     Ex. 10: Depo. of Rice, Pg. 46, Lines 22-25; Pg. 47, Lines 1-25; Pg. 48, Lines 1-25; Pg. 49, Lines 1-16; Pg. 50,
 Lines 1-25; Pg. 51, Lines 1-25; Pg. 52, Lines 2-25; Pg. 53, Lines 1-14, Pg. 83, Lines 13-25; Pg. 84, Lines 1-5; Ex. 15:
 Email from Rice to Carruth (Apr. 14, 2022).
 104
     Third Amended Complaint (Dkt. 97), Pg. 8, ¶ 44 (“Based on PDG’s fraudulent representation . . . .”); id. at Pg. 9,
 ¶ 50 (“[C]ontrary to Dixson’s representations . . . .”); id. at Pg. 12, ¶ 70 (“Dixson did not use any of the Sale Proceeds
 to improve Legalist’s collateral, as he had represented to Legalist previously.”).
 105
     Ex. 10: Depo. of Rice, Pg. 46, Lines 22-25; Pg. 47, Lines 1-25; Pg. 48, Lines 1-25; Pg. 49, Lines 1-16; Pg. 50,
 Lines 1-25; Pg. 51, Lines 1-25; Pg. 83, Lines 13-25; Pg. 84, Lines 1-5; Ex. 15: Email from Rice to Carruth (Apr. 14,
 2022); Ex. 13: Depo. of Dixson, Pg. 36, Lines 12-24; Pg. 38, Lines 1-20; Pg. 39, Lines 8-9, 15-20; Pg. 40, Lines 1-5;
 Pg. 42, Lines 23-25; Pg. 61, Lines 16-17; Pg. 62, Lines 11-25.
 106
     And, formerly a finance and restructuring associate. See Ex. 10: Depo. of Rice, Pg. 14, Lines 2-25.
 107
     Ex. 15: Email from Rice to Carruth (Apr. 14, 2022).
 108
     In re Uplift RX, LLC, Adv. No. 21-3936, 2023 WL 5355353, at *19 (Bankr. S.D. Tex. 2023).
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                                              15
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 16
                                      of 24



 someone your understanding of a deal.109 This is a baseless cause of action, and Weycer Kaplan

 moves for its summary judgment. The elements of civil conspiracy in Texas are “(1) two or more

 persons; (2) an object to be accomplished; (3) a meeting of the minds on the object or course of

 action; (4) one or more unlawful, overt acts; and (5) damages as a proximate result.”110

 Additionally, “civil conspiracy requires specific intent to agree to accomplish an unlawful purpose

 or to accomplish a lawful purpose by unlawful means.”111 “The gist of a civil conspiracy is the

 injury the conspirators intended to cause.”112 “Thus, proof of a joint intent to engage in the conduct

 that resulted in the injury is not sufficient to establish civil conspiracy.”113 For conspiracy

 allegations against attorneys, particularly in the context of fraud, “there must be some indication

 that the attorney agreed to the fraud.”114 For an attorney to be held liable for conspiracy to defraud

 by assisting his client, “the attorney must have agreed to the injury to be accomplished, not merely

 the conduct ultimately resulting in injury.”115

         22.      By their Third Amended Complaint, Plaintiffs allege Weycer Kaplan, through

 Carruth, “together with Dixson . . . reached an agreement to sell Lot 1A,” and “conspired to

 fraudulently transfer . . . Lot 1A to Mesilla Valley for no consideration.”116 Plaintiffs also allege




 109
     Ex. 15: Email from Rice to Carruth (Apr. 14, 2022).
 110
     First State Bank of Mesquite v. Bellinger & Dewolf, LLP, 342 S.W.3d 142, 150 (Tex. App.—El Paso 2011, no pet.)
 (citing Schlumberger Well Surveying Corp. v. Nortex Oil & Gas Corp., 435 S.W.2d 854, 857 (Tex. 1968); Greenberg
 Traurig of N.Y., P.C. v. Moody, 161 S.W.3d 56, 80 (Tex. App.—Houston [14th Dist.] 2004, no pet.)).
 111
     Id. (emphasis added) (citing Juhl v. Airington, 936 S.W.2d 640, 644 (Tex. 1996); A.H. Belo Corp. v. Corcoran, 52
 S.W.3d 375, 384 (Tex. App.—Houston [1st Dist.] 2001, pet. denied)).
 112
     Greenberg Traurig, 161 S.W.3d at 80 (emphasis added) (citing Firestone Steel Prods. Co. v. Barajas, 927 S.W.2d
 608, 614 (Tex. 1996)).
 113
     Id. (citing Juhl, 936 S.W.2d at 644).
 114
     Id. (citing Bernstein v. Portland Savs. & Loan Ass’n, 850 S.W.2d 694, 706 (Tex. App.—Corpus Christi 1993, writ
 denied), overruled on other grounds by Crown Life Ins. Co. v. Casteel, 22 S.W.3d 378 (Tex. 2000)).
 115
     Essex Crane Rental Corp. v. Carter, 371 S.W.3d 366, 379 (Tex. App.—Houston [1st Dist.] 2012, pet. denied)
 (emphasis added) (citing Chu v. Hong, 249 S.W.3d 441, 446-47 (Tex. 2008)).
 116
     Plaintiffs’ Third Amended Complaint (Dkt. 97), Pg. 32, ¶¶ 201, 202; but cf. In re Uplift RX, LLC, Adv. No. 21-
 3936, 2023 WL 5355353, at *19 (Bankr. S.D. Tex. 2023) (finding an allegation against a defendant-attorney that
 “sprinkled” fraud-related language into a civil conspiracy claim did “not meet the heightened requirements of Federal
 Rule of Civil Procedure 9” and dismissing it pursuant to Federal Rule of Civil Procedure 12(b)(6)).
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                                         16
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 17
                                      of 24



 Carruth “facilitated the fraudulent transfer” and “negotiated the Purchase and Sale Agreement for

 Lot 1A[.]”117 Paragraph 209 of the Third Amended Complaint notably only alleges “Legalist

 suffered damages as a direct result of the Defendants’ alleged conspiracy to fraudulently transfer

 Lot 1A from PDG to Mesilla Valley,” not PDG,118 and that these damages are “the Sales Proceeds

 plus the amount paid to third-parties, by Southwestern, from the proceeds of the sale.”119 These

 are all allegations of Weycer Kaplan’s conduct, but nowhere do the Plaintiffs allege Weycer

 Kaplan intended to cause their injury, which they allege is Legalist’s loss of the sale proceeds.120

 Again, PDG received the net proceeds of $1,916,558.82 from the sale of Lot 1A.121 The injury,

 though, was not caused by Weycer Kaplan, but was a result of Legalist’s agreement with Dixson

 to release its lien on Lot 1A, and Dixson’s subsequent use of the sale proceeds in PDG’s account.

          23.      It was always the intention to sell Lot 1A,122 and PDG transferred it to Mesilla

 Valley after confirmation123 to avoid other litigation in the Gateway Ventures bankruptcy, as

 Dixson testified.124 Carruth provided Rice a copy of the Purchase and Sale Agreement for the sale

 of Lot 1A to LPC, and Rice raised no issue that it listed Mesilla Valley as the seller.125 Any errant

 inclusion of language in the Purchase and Sale Agreement (again, for which Rice raised no issue)


 117
     Plaintiffs’ Third Amended Complaint (Dkt. 97), Pg. 32, ¶¶ 204, 205.; but cf. In re Uplift RX, LLC, 2023 WL
 5355353, at *19 (“Providing legal advice to a client is not illegal.”).
 118
     Because, regardless of the transfer from PDG to Mesilla Valley, the sales proceeds went back into PDG’s bank
 account, and Legalist had a claim to those proceeds in the PDG bank account, but it voluntarily released its lien. See
 Ex. 21: Chase Bank Statement for PDG Prestige Inc. (Apr. 30, 2022 – May 31, 2022); Ex. 13: Depo. of Dixson, Pg.
 87, Lines 20-25; Pg. 88, Lines 1-25; Pg. 89, Lines 1-25.
 119
     Plaintiffs’ Third Amended Complaint (Dkt. 97), Pg. 33, ¶ 209 (emphasis added).
 120
     Id.
 121
     Ex. 21: Chase Bank Statement for PDG Prestige Inc. (Apr. 30, 2022 – May 31, 2022); see also Plaintiffs’ Third
 Amended Complaint (Dkt. 97), Pgs. 8-9, ¶ 50.
 122
      Ex. 7: Order Approving First Amended Disclosure Statement (Dkt. 118); Ex. 8: First Amended Disclosure
 Statement (Dkt. 116); Ex. 9: Plan (Dkt. 148). Per Dixson, the purpose of PDG was to purchase and sell Lot 1A. See
 Ex. 13: Depo. of Dixson, Pg. 17, Lines 3-13; Pg. 18, Lines 22-24.
 123
     Compare Ex. 9: Plan (Dkt. 148) (effective date, April 1, 2022), with Ex. 16: Special Warranty Deed, Lot 1A, PDG
 to Mesilla Valley (Apr. 21, 2022).
 124
     Ex. 13: Depo. of Dixson, Pg. 36, Lines 12-24; Pg. 38, Lines 1-20; Pg. 39, Lines 8-9, 15-20; Pg. 40, Lines 1-5; Pg.
 42, Lines 23-25.
 125
     Ex. 19: Email from Carruth to Rice (Apr. 13, 2022); Ex. 10: Depo. of Rice, Pg. 78, Lines 15-25; Pg. 79, Lines 1-
 17.
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                                          17
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 18
                                      of 24



 is not proof of a conspiracy. Carruth also explained to Rice that, as he understood Legalist’s deal

 with Dixson, creditors of PDG, including Weycer Kaplan, would be paid from the proceeds from

 the sale of Lot 1A, and Rice raised no issue with that either, because it was, apparently, the same

 information Rice was told by Legalist employees, Jones and Cipriano, who previously spoke with

 Dixson.126 Because there was never a conspiracy between Weycer Kaplan and Dixson to cause

 Legalist to voluntarily release its lien on Lot 1A to allow Dixson to use the proceeds from the sale

 of Lot 1A, this Court can enter summary judgment on the Plaintiffs’ claim for civil conspiracy.

 C. Civil Contempt

         24.      Weycer Kaplan did not violate the DIP Order nor is it in contempt. “[T]he elements

 of civil contempt are ‘(1) that a court order was in effect, and (2) that the order required certain

 conduct by the respondent, and (3) that the respondent failed to comply with the court’s order.’”127

 “[C]ivil contempt is a ‘severe remedy’” and “should not be resorted to where there is [a] fair

 ground of doubt as to the wrongfulness of the defendant’s conduct.”128 Here, Legalist and PDG

 allege Weycer Kaplan, Dixson, and PDG, violated the DIP Order by “fraudulently induc[ing]

 Legalist to grant a partial lien release and utiliz[ing] funds other than in accordance with the

 express terms of the DIP Order.”129 Rice, though, voluntarily released Legalist’s lien on Lot 1A

 to allow PDG to use the sales proceeds to develop Lot 3A to obtain a refinance to payoff




 126
     Ex. 10: Depo. of Rice, Pg. 40, Lines 14-23; Pg. 81, Lines 6-14; Pg. 82, Lines 15-19; Ex. 19: Email from Carruth
 to Rice (Apr. 13, 2022).
 127
     In re Bradley, 588 F.3d 254, 264 (5th Cir. 2009) (emphasis removed) (citing Fed. Deposit Ins. Corp. v. LeGrand,
 43 F.3d 163, 170 (5th Cir. 1995) (citing Martin v. Trinity Indus., 959 F.2d 45, 47 (5th Cir. 1992))).
 128
     Taggart v. Lorenzen, 587 U.S. 554, 561 (2019) (emphasis original) (citing Cal. Artificial Stone Paving Co. v.
 Molitor, 113 U.S. 609, 618 (1885)).
 129
     Plaintiffs’ Third Amended Complaint (Dkt. 97), Pg. 37, ¶ 247.
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                                       18
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 19
                                      of 24



 Legalist.130 Jones and Cipriano negotiated this deal with Dixson.131 Rice placed no stipulation on

 the use of the proceeds from the sale of Lot 1A.132 Legalist was well aware that Weycer Kaplan

 would receive payment for its legal fees from the sales proceeds.133 And, PDG actually received

 the net proceeds from the sale of Lot 1A.134

         25.      Legalist’s conduct was inconsistent with the language of the DIP Order that the

 Plaintiffs cite in their Third Amended Complaint as the basis for their cause of action for Civil

 Contempt.135 Under Texas law, “waiver is the ‘intentional relinquishment of a known right or

 intentional conduct inconsistent with claiming that right.’”136 Legalist waived any argument that

 Weycer Kaplan violated the DIP Order when it agreed with PDG to voluntarily release its lien

 (provided by the DIP Order) on Lot 1A. And, PDG has no argument that Weycer Kaplan violated

 the DIP Order, because PDG, through Dixson, made the deal with Legalist, and PDG, through

 Dixson, received the sale proceeds.137 Weycer Kaplan, as bankruptcy counsel, cannot be held

 liable for its client’s use of funds in its account.138 Such is not wrongful nor is it contempt. Weycer

 Kaplan did not violate the DIP Order and moves this Court for summary judgment on the Plaintiffs’

 claim for Civil Contempt.




 130
     Ex. 10: Depo. of Rice, Pg. 46, Lines 22-25; Pg. 47, Lines 1-25; Pg. 48, Lines 1-25; Pg. 49, Lines 1-16; Pg. 50,
 Lines 1-25; Pg. 51, Lines 1-25; Pg. 83, Lines 13-25; Pg. 84, Lines 1-5; Ex. 15: Email from Rice to Carruth (Apr. 14,
 2022).
 131
     Ex. 10: Depo. of Rice, Pg. 46, Lines 22-25; Pg. 47, Lines 1-25; Pg. 48, Lines 1-25; Pg. 49, Lines 1-16; Pg. 50,
 Lines 1-25; Pg. 51, Lines 1-25; Pg. 83, Lines 13-25; Pg. 84, Lines 1-5.
 132
     Ex. 10: Depo. of Rice, Pg. 52, Lines 2-25; Pg. 53, Lines 1-14.
 133
     Id. at Pg. 79, Lines 18-25; Pg. 80, Lines 1-11; Pg. 81, Lines 10-14; Ex. 19: Email from Carruth to Rice (Apr. 13,
 2022).
 134
     Ex. 21: Chase Bank Statement for PDG Prestige Inc. (Apr. 30, 2022 – May 31, 2022); see also Plaintiffs’ Third
 Amended Complaint (Dkt. 97), Pgs. 8-9, ¶ 50.
 135
     Plaintiffs’ Third Amended Complaint (Dkt. 97), Pg. 37, ¶ 246.
 136
     Addicks Servs., Inc. v. GGP-Bridgeland, LP, 596 F.3d 286, 298 (5th Cir. 2010) (citing Sun Exploration & Prod.
 Co. v. Benton, 728 S.W.2d 35, 37 (Tex. 1987)).
 137
     Ex. 21: Chase Bank Statement for PDG Prestige Inc. (Apr. 30, 2022 – May 31, 2022).
 138
     See Kruegel v. Murphy, 126 S.W. 343, 345 (Tex. App.—Dallas 1910, writ ref’d) (“[A]ttorneys are authorized to
 practice their profession, to advise their clients and interpose any defense or supposed defense, without making
 themselves liable for damages.”).
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                                         19
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 20
                                      of 24



 D. Revocation of Retention Order and Disgorgement of Fees

          26.       Plaintiffs seek an order revoking the Order Granting Motion to Employ Weycer

 Kaplan and for disgorgement of the fees Weycer Kaplan incurred in representing PDG. The

 Plaintiffs base this on an allegation that Weycer Kaplan “represent[ed] non-debtor entities,”139

 which it did not do. It represented PDG,140 and the proceeds from the sale of Lot 1A went into to

 PDG’s bank account after the sale.141 That Weycer Kaplan’s services potentially benefited Mesilla

 Valley, a subsidiary of PDG,142 does not warrant a revocation of the retention order or a

 disgorgement of fees. Dixson testified he used Mesilla Valley, after confirmation, to avoid other

 litigious parties (Cremins, Noorani),143 and, nonetheless, Legalist was aware of Dixson’s use of

 Mesilla Valley144 and, again, PDG received the net proceeds from the sale of Lot 1A.145 Weycer

 Kaplan is not the proximate cause of any damage to PDG, so PDG is not entitled to a revocation

 of the Order Granting Motion to Employ Weycer Kaplan, nor is it entitled to a disgorgement of

 fees. Legalist is not an interested party under the Order Granting Motion to Employ Weycer

 Kaplan and has no standing146 to seek its revocation or the disgorgement fees. No judgment in

 Legalist’s favor on this cause of action will redress any of its alleged injuries, and PDG is merely

 seeking a windfall for the services Weycer Kaplan provided to it. This Court can, therefore, enter



 139
     Plaintiffs’ Third Amended Complaint (Dkt. 97), Pg. 38, ¶¶ 252, 257.
 140
     Ex. 2: Email from Dixson to Carruth (Feb. 2, 2021).
 141
     Ex. 21: Chase Bank Statement for PDG Prestige Inc. (Apr. 30, 2022 – May 31, 2022).
 142
     Ex. 13: Depo. of Dixson, Pg. 36, Lines 12-24.
 143
     Id. at Pg. 29, Lines 15-20; Pg. 40, Lines 1-5; Pg. 43, Lines 15-21.
 144
     Ex. 18: Email from Carruth to Rice (Apr. 13, 2022) (Purchase and Sale Agreement); Ex. 10: Depo. of Rice, Pg. 75,
 Lines 20-25; Pg. 76, Lines 1-25; Pg. 78, Lines 1-21; Pg. 79, Lines 1-17.
 145
     Ex. 13: Depo. of Dixson, Pg. 62, Lines 7-25; see also Plaintiff’s Original Complaint (Dkt. 1), Pg. 6, ¶ 40 (Dkt.
 1); Ex. 21: Chase Bank Statement for PDG Prestige Inc. (Apr. 30, 2022 – May 31, 2022).
 146
     Tenth Street Residential Ass’n v. City of Dallas, 968 F.3d 492, 499 (5th Cir. 2020) (requiring for standing, (1) an
 injury in fact, “an invasion of a legally protected interest which is (a) concrete and particularized; and (b) ‘actual or
 imminent, not conjectural or hypothetical[;]’” (2) “a causal connection between the injury and the conduct complained
 of,” in that it is “‘fairly . . . trace[able] to the challenged action of the defendant[;]’” and (3) is “‘likely,’ as opposed to
 merely ‘speculative,’ that the injury will be ‘redressed by a favorable decision.’”) (quoting N.A.A.C.P. v. City of Kyle,
 626 F.3d 233, 237 (5th Cir. 2010) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-561 (1992)).
 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                                                    20
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 21
                                      of 24



 summary judgment on Plaintiffs’ cause of action for Revocation of the Order Granting Motion to

 Employ Weycer Kaplan and for a disgorgement of fees.

     E. Conclusion

         27.    Because all Weycer Kaplan’s actions took place within the scope of its

 representation of PDG, Legalist’s claims against Weycer Kaplan are barred by attorney immunity,

 and this Court can enter summary judgment on that affirmative defense. Because there was not a

 conspiracy between Weycer Kaplan and Dixson to cause Legalist to voluntarily release its lien on

 Lot 1A to allow Dixson to use the proceeds from the sale of Lot 1A in the PDG bank account,

 Weycer Kaplan is entitled to summary judgment on the Plaintiffs’ claim for Civil Conspiracy.

 Weycer Kaplan did not violate the DIP Order, and when Legalist released its lien on Lot 1A,

 Legalist waived any argument that Weycer Kaplan violated the DIP Order. Since the proceeds

 from the sale of Lot 1A went back into the PDG bank account, PDG has no argument that Weycer

 Kaplan violated the DIP Order. This Court can, therefore, enter summary judgment on the

 Plaintiffs’ claim for Civil Contempt. Finally, this Court can enter summary judgment on the

 Plaintiffs’ claim for a Revocation of the Order Granting Motion to Employ Weycer Kaplan and

 for a disgorgement of Weycer Kaplan’s fees because Weycer Kaplan is not the proximate cause

 of any damage to PDG, and because Legalist has no standing to seek revocation of the Order

 Granting Motion to Employ Weycer Kaplan nor plea for disgorgement of Weycer Kaplan’s fees.

                                              PRAYER

         Weycer Kaplan prays this Court enter an order granting it summary judgment on (1) its

 affirmative defense of Attorney Immunity as to Legalist’s claims, (2) Plaintiffs’ claim of Civil

 Conspiracy, (3) Plaintiffs’ claim for Civil Contempt, and (4) Plaintiffs’ claim for a Revocation of

 the Order Granting Motion to Employ Weycer Kaplan and for a disgorgement of its fees.


 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                       21
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 22
                                      of 24



                                          Respectfully submitted,

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 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                          22
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 23
                                      of 24



                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that I served this pleading on the parties listed below,
 either by the CM/ECF of the Bankruptcy Court for the Western District of Texas pursuant to
 Bankruptcy Local Rule 7005 or by mail on May 28, 2025.

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 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                                       23
23-03004-cgb Doc#139 Filed 05/28/25 Entered 05/28/25 18:09:38 Main Document Pg 24
                                      of 24



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 WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
 19820545v1
 10660.217                                                                   24
